            Case 17-30112             Doc 146      Filed 03/20/17        Entered 03/20/17 14:38:46                  Desc Main
                                           UNITED STATES BANKRUPTCY
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                                                                        1
                                           FOR THE DISTRICT OF NORTH DAKOTA



  IN RE:                                                             §                            CASE NO.          17-30112
  VANITY SHOP OF GRAND FORKS, INC.                                   §

  DEBTORS(S),                                                        §                             CHAPTER 11

                                          NOTICE OF APPEARANCE AND REQUEST
                                         FOR SERVICE OF NOTICES AND PLEADINGS

    PLEASE TAKE NOTICE that the undersigned hereby enters an appearance on behalf of:

    GREGG COUNTY                              SMITH COUNTY

 secured creditor(s) in the above-referenced proceedings. The undersigned hereby requests notice and copies of all motions notices,

 reports, briefs, applications, adversary proceedings, proposed orders, confirmed copies of orders, any proposed disclosure statement

 or plan of reorganization that has been filed with the court, any other documents or instruments filed in the above-referenced

 proceedings and any other matter in which notice is required pursuant to 11 U.S.C. Sec. 1109(b) and Bankruptcy Rules 2002(a) and

 (b), 3017(a), and 9013 of the Federal Rules of Bankruptcy Procedure.

    Copies should be mailed to the secured creditor(s) in care of the undersigned at the address set forth below.

                                                         Certificate of Service

I do hereby certify that on 20th day of March, 2017, a copy of the above and foregoing has been this date served electronically or

mailed to the parties listed below:

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                                                         By: /s/ Elizabeth Weller
                                                              Elizabeth Weller
                                                              SBN: 00785514 TX
